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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          9   WAYMO LLC,                                                  No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.                                                        ORDER DENYING MOTION
                                                                                                                                          TO MODIFY PRIVILEGE LOG
                               For the Northern District of California




                                                                         12   UBER TECHNOLOGIES, INC., et al.,                            REQUIREMENTS BASED ON
                                                                         13                                                               FIFTH AMENDMENT
                                                                                             Defendants.
                                                                         14                                              /

                                                                         15                                         INTRODUCTION
                                                                         16          In this action for trade secret misappropriation, patent infringement, and unfair
                                                                         17   competition, a non-party moves to prevent defendants from providing a conventional privilege
                                                                         18   log based on Fifth Amendment and attorney-client grounds. The motion is DENIED.
                                                                         19                                           STATEMENT
                                                                         20          A cornerstone of the case by Waymo LLC is its evidence that non-party Anthony
                                                                         21   Levandowski downloaded over 14,000 files containing its trade secrets and proprietary
                                                                         22   information pertaining to self-driving cars to his company-issued laptop, transferred them to a
                                                                         23   portable storage device, wiped the laptop clean, then promptly left his position at Waymo with
                                                                         24   the downloads to start his own competing autonomous-vehicle ventures, defendants Ottomotto
                                                                         25   LLC and Otto Trucking LLC. Shortly thereafter, defendant Uber Technologies, Inc., acquired
                                                                         26   the new ventures for $680 million. Uber then quickly progressed in its own development of
                                                                         27   competing self-driving vehicles. This, Waymo contends, is how Uber accomplished in only
                                                                         28   nine months what it took Waymo seven years to do.
                                                                          1          Waymo has moved for provisional relief against defendants. A hearing on that motion
                                                                          2   remains scheduled for May 3. On March 16, after a case management conference, an order
                                                                          3   approved a plan for expedited discovery (Dkt. No. 61). That order required, among other
                                                                          4   things, that defendants produce by March 31 “all files and documents downloaded by Anthony
                                                                          5   Levandowski . . . before leaving plaintiff’s payroll and thereafter taken by [him],” and “the card
                                                                          6   reader, thumb drive, or other media used for the downloads, as well as all subsequent emails,
                                                                          7   memoranda, PowerPoints, text messages, or notes that have forwarded, used, or referred to any
                                                                          8   part of said downloaded material” (id. at ¶ 4).
                                                                          9          On March 28, defendants requested a non-public conference to address a “confidential
                                                                         10   matter . . . to protect legitimate privacy concerns” (Dkt. No. 122 at 2). Defendants did not
                                                                         11   disclose the subject of the requested conference in advance to either Waymo or the Court.
United States District Court
                               For the Northern District of California




                                                                         12   Nevertheless, the Court convened the conference provisionally under seal with the caveat that
                                                                         13   the transcript might be made public afterwards. Counsel for both sides appeared but new,
                                                                         14   separate counsel appeared for non-party Levandowski. (The transcript from the conference
                                                                         15   became public soon thereafter.)
                                                                         16          During the conference, defense counsel indicated that, in the process of acquiring
                                                                         17   Levandowski’s companies, Uber obtained a “due diligence” report prepared by a “third party”
                                                                         18   that may have referenced allegedly downloaded documents. To facilitate access to information
                                                                         19   held by Levandowski, both sides of the transaction and, this order assumes for the sake of
                                                                         20   argument, the third party entered into a joint defense agreement, in an effort to cloak the due
                                                                         21   diligence review by the third party under a claim of privilege. Evidently, some or all of the
                                                                         22   14,000-plus files downloaded from Waymo were then disclosed to the third party or to Uber,
                                                                         23   although that is an interpretation of the circumstances and not a direct admission.
                                                                         24          At the conference, counsel for defendants further indicated that they intended to put that
                                                                         25   report on a privilege log. Pursuant to a standing order, privilege logs must identify, with respect
                                                                         26   to each communication for which a claim of privilege is made (Judge Alsup’s Supplemental
                                                                         27   Order to Order Setting Initial CMC in Civil Cases (effective Mar. 17, 2016),
                                                                         28   http://www.cand.uscourts.gov/whaorders):


                                                                                                                                2
                                                                          1           (a)     all persons making or receiving the privileged or protected
                                                                          2                   communication;
                                                                          3           (b)     the steps taken to ensure the confidentiality of the communication,
                                                                          4                   including affirmation that no unauthorized persons have received
                                                                          5                   the communication;
                                                                          6           (c)     the date of the communication; and
                                                                          7           (d)     the subject matter of the communication.
                                                                          8   Additionally, privilege logs must be sufficiently detailed and informative to justify the claimed
                                                                          9   privilege(s), and indicate the locations where any purportedly privileged documents were found.
                                                                         10           Counsel for Levandowski, however, took the position that disclosing even the identity of
                                                                         11   the third party who had prepared the due diligence report on a privilege log would compromise
United States District Court
                               For the Northern District of California




                                                                         12   Levandowski’s Fifth Amendment privilege against self-incrimination. Counsel for
                                                                         13   Levandowski therefore requested that defense counsel be prohibited from making any such
                                                                         14   disclosure. The undersigned judge declined to grant the requested relief during the conference
                                                                         15   and indicated that Levandowski’s Fifth Amendment argument should be made via formal
                                                                         16   motion, if at all.
                                                                         17           Consequently, Levandowski now makes the instant motion based on claims of Fifth
                                                                         18   Amendment privilege and attorney-client privilege (Dkt. No. 147). The motion record is thin
                                                                         19   but includes a joint defense, common interest and confidentiality agreement (“joint defense
                                                                         20   agreement”), dated in April 2016, between the two sides in Uber’s acquisition of
                                                                         21   Levandowski’s companies (Dkt. No. 147-1). The joint defense agreement referred to “potential
                                                                         22   investigations, litigation, and/or other proceedings relating to the proposed transactions.” The
                                                                         23   “litigation” or “other proceedings” under contemplation went unidentified. The agreement
                                                                         24   stated that the parties had a “common interest in opposing” such proceedings. It recited that the
                                                                         25   parties had already shared with each other “confidential and proprietary documents containing
                                                                         26   financial, operating and planning data.” The agreement continued with classification provisions
                                                                         27   to maintain secrecy. It made no mention, however, of the Fifth Amendment or of how to deal
                                                                         28   with privilege logs.


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                                                                          1          Waymo opposes the motion. Defendants — despite defense counsel’s insistence that he
                                                                          2   “would love to put Mr. Levandowski on the stand” and asides that Levandowski’s silence has
                                                                          3   had an “adverse impact” on defendants (e.g., Dkt. No. 131 at 16:3–16:11) — do not oppose
                                                                          4   Levandowski’s motion. This order follows briefing and oral argument.
                                                                          5                                              ANALYSIS
                                                                          6          It took considerable effort to pin down the actual relief sought by this motion. The
                                                                          7   moving papers conveyed mixed messages. The notice of motion stated that the motion sought
                                                                          8   to prohibit Uber “from disclosing any information provided by Levandowski in the course of
                                                                          9   the [joint defense agreement], and specifically . . . information concerning the due diligence
                                                                         10   review conducted by a third party under that agreement, including but not limited to the identity
                                                                         11   of the third party who conducted any such due diligence review, whether Mr. Levandowski
United States District Court
                               For the Northern District of California




                                                                         12   possessed any documents that were reviewed by the third party, and the identity of any of Mr.
                                                                         13   Levandowski’s possessions that may have been reviewed” (Dkt. No. 147 (emphasis added)).
                                                                         14          The memorandum of points and authorities, however, requested only “a modification of
                                                                         15   the Court’s standing privilege log requirement” on the basis that it “would improperly compel
                                                                         16   Uber to disclose information protected by a common interest privilege and thereby undermine
                                                                         17   Mr. Levandowski’s Fifth Amendment right against compelled production as recognized by the
                                                                         18   Supreme Court in United States v. Hubbell, 530 U.S. 27 (2000), and Fisher v. United States,
                                                                         19   425 U.S. 391 (1976)” (id. at 1). Specifically (id. at 2):
                                                                         20                   Mr. Levandowski asks that Uber’s counsel . . . be relieved of any
                                                                                              obligation to provide detail concerning (1) the identity of the third-
                                                                         21                   party who conducted any such due diligence review, (2) whether
                                                                                              Mr. Levandowski possessed any documents that were reviewed by
                                                                         22                   the third party, or (3) the identity of any of Mr. Levandowski’s
                                                                                              possessions that may have been reviewed.
                                                                         23
                                                                                              This is necessary for two reasons. First, ordering public disclosure
                                                                         24                   of these facts on the privilege log would impair Mr.
                                                                                              Levandowski’s attorney-client privilege because it would compel
                                                                         25                   disclosures of confidences shared by Mr. Levandowski with his
                                                                                              own counsel that were later communicated with other counsel as
                                                                         26                   part of an enforceable joint defense and common interest privilege
                                                                                              agreement. Second, requiring disclosure of these facts would
                                                                         27                   separately violate Mr. Levandowski’s Fifth Amendment right.
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                                                                          1   Thus, from the papers, the scope of this motion remained unclear because the usual information
                                                                          2   accompanying a claim of privilege (namely, the particulars traditionally disclosed on a privilege
                                                                          3   log) turned out to be what Levandowski seeks to conceal. We were, as a result, uninformed as
                                                                          4   to who prepared the due diligence report and why; what it referenced; the extent, if any, to
                                                                          5   which the author(s) of the due diligence report reviewed any or all of the downloads; to whom
                                                                          6   the report was disclosed; and for what purpose each recipient used it.
                                                                          7          At the hearing, the judge raised these questions and counsel for Levandowski finally
                                                                          8   turned over for in camera review a proposed privilege log containing 42 specific line items that
                                                                          9   Levandowski would partially redact. All 42 items concern the due diligence report (which
                                                                         10   report was not supplied, even for in camera review). The proposed redactions would conceal
                                                                         11   the identity of the third party that prepared the report, as well as descriptions of items reviewed
United States District Court
                               For the Northern District of California




                                                                         12   during its preparation. Even in its unredacted form some questions would remain (such as why
                                                                         13   the report was prepared, whether it referenced any of the downloaded files, and for what
                                                                         14   purpose each recipient used it). Counsel for Waymo then received a redacted version of the log
                                                                         15   and, as expected, objected to the redactions.
                                                                         16                                   *                *                 *
                                                                         17          Turning to the merits, a very practical point deserves emphasis up front. The purpose of
                                                                         18   a privilege log in our federal system is to list the materials withheld under any claim of
                                                                         19   privilege and to specify certain time-honored particulars as to each item withheld. This is the
                                                                         20   first step in the process of adjudicating a claim of privilege. The second step is to determine
                                                                         21   whether the privilege actually applies and has not been waived. The system would become
                                                                         22   compromised and much abused if a party could simply omit privilege log disclosures when
                                                                         23   informed that the information disclosed might incriminate a wrongdoer.
                                                                         24          The joint defense agreement in question provided that the parties would claim the
                                                                         25   privileges recognized by the agreement but surely contemplated that they would do so in the
                                                                         26   customary way — via a privilege log. Again, nothing in the agreement purported to muzzle the
                                                                         27   parties when it came to supplying a privilege log in order to claim a privilege (not to mention
                                                                         28   that any such provision might well be void as against public policy as an obstruction of justice).


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                                                                          1   Nothing in the agreement called out a privilege against self-incrimination or referred to the Fifth
                                                                          2   Amendment, much less purported to obligate a party to avoid incriminating the other party.
                                                                          3          Nevertheless, Levandowski’s motion insists that attorneys for Uber, a signatory to the
                                                                          4   joint defense agreement, became his personal lawyers, and that the Fifth Amendment somehow
                                                                          5   prohibits them from revealing any information, even on a privilege log, that would help a
                                                                          6   prosecutor connect the dots to him.
                                                                          7          Much of Levandowski’s memorandum stresses uncontroversial premises. First, the
                                                                          8   Fifth Amendment privilege against self-incrimination can be asserted in a civil proceeding
                                                                          9   when “the person invoking the privilege reasonably believes that his disclosures could be used
                                                                         10   in a criminal prosecution, or could lead to other evidence that could be used in that manner.”
                                                                         11   Doe ex rel. Rudy-Glanzer v. Glanzer, 232 F.3d 1258, 1263 (9th Cir. 2000). Second, an
United States District Court
                               For the Northern District of California




                                                                         12   individual may invoke the Fifth Amendment to avoid producing documents on the basis that the
                                                                         13   act of production “may have a compelled testimonial aspect” as to that individual. United
                                                                         14   States v. Hubbell, 530 U.S. 27, 36 (2000); Fisher v. United States, 425 U.S. 391, 410 (1976).
                                                                         15   Third, the attorney-client privilege protects “[c]onfidential disclosures by a client to an attorney
                                                                         16   made in order to obtain legal assistance,” so as to “encourage clients to make full disclosure to
                                                                         17   their attorneys.” Fisher, 425 U.S. at 403. Fourth, the joint-defense privilege or “common
                                                                         18   interest” privilege can extend the attorney-client privilege such that it “protects not only the
                                                                         19   confidentiality of communications passing from a party to his or her attorney but also ‘from one
                                                                         20   party to the attorney for another party where a joint defense effort or strategy has been decided
                                                                         21   upon and undertaken by the parties and their respective counsel.’” United States v. Gonzalez,
                                                                         22   669 F.3d 974, 978 (9th Cir. 2012) (quoting United States v. Austin, 416 F.3d 1016, 1021 (9th
                                                                         23   Cir. 2005), and United States v. Henke, 222 F.3d 633, 637 (9th Cir. 2000)).
                                                                         24          It does not follow from the foregoing premises, however, that compelling Uber to
                                                                         25   complete a conventional privilege log would violate Levandowski’s Fifth Amendment privilege.
                                                                         26   Contrary to Levandowski’s position, neither Hubbell nor Fisher so held, and Fisher expressly
                                                                         27   rejected the theory.
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                                                                          1               In Hubbell, the Supreme Court held in relevant part that, for Fifth Amendment purposes,
                                                                          2    “the act of producing documents in response to a subpoena may have a compelled testimonial
                                                                          3    aspect,” since “‘the act of production’ itself may implicitly communicate ‘statements of fact,’”
                                                                          4    including admissions regarding the existence, possession or control, or authenticity of
                                                                          5    documents. 530 U.S. at 36. As stated, this is an uncontroversial premise here.
                                                                          6               In Fisher, taxpayers under investigation by the Internal Revenue Service transferred
                                                                          7    documents to their attorneys retained for the investigation. The IRS sought to compel the
                                                                          8    attorneys to produce those documents, and the attorneys refused based on, among other things,
                                                                          9    their clients’ Fifth Amendment privilege and the attorney-client privilege. Fisher, 425 U.S. at
                                                                         10    393–95. Significantly, the Supreme Court held that “compelled production of documents from
                                                                         11    an attorney does not implicate whatever Fifth Amendment privilege the taxpayer might have
United States District Court
                               For the Northern District of California




                                                                         12    enjoyed from being compelled to produce them himself.” Id. at 402 (emphasis added). The
                                                                         13    documents in question could be subpoenaed from the attorneys “without compulsion on the
                                                                         14    taxpayer. The protection of the Fifth Amendment [was] therefore not available.” Id. at 398–99
                                                                         15    (emphasis added). In other words, “The taxpayer’s privilege under this Amendment [was] not
                                                                         16    violated . . . because enforcement against a taxpayer’s lawyer would not ‘compel’ the taxpayer
                                                                         17    to do anything and certainly would not compel him to be a ‘witness’ against himself.” Id. at
                                                                         18    397 (emphasis added). In fact, Fisher vindicated two district court decisions permitting the
                                                                         19    government to compel attorneys to produce their clients’ documents, notwithstanding the
                                                                         20    latter’s protests on Fifth Amendment grounds.*
                                                                         21               Counsel for Levandowski quote Fisher for the proposition that, “papers, if unobtainable
                                                                         22    by summons from the client, are unobtainable by summons directed to the attorney by reason of
                                                                         23    the attorney-client privilege.” Id. at 405. Thus, “when the client himself would be privileged
                                                                         24
                                                                         25           *
                                                                                          This order recognizes that in United States v. Sideman & Bancroft, LLP (a decision neither side
                                                                              mentioned), our court of appeals stated that, under Fisher, “[an attorney] does not have to produce [documents]
                                                                         26   if doing so violates [a client’s] Fifth Amendment rights.” 704 F.3d 1197, 1201–02 (9th Cir. 2013). While this
                                                                              language superficially appears to support Levandowski’s position here, the Supreme Court in Fisher expressly
                                                                         27   held that a client’s “Fifth Amendment privilege is . . . not violated by enforcement of [document] summonses
                                                                              directed toward their attorneys.” Fisher, 425 U.S. at 397. Our court of appeals has recognized as much.
                                                                         28   Beckler v. Superior Court, Los Angeles Cty., 568 F.2d 661, 662 (9th Cir. 1978) (quoting the aforementioned
                                                                              holding as the “clear[] announce[ment]” of the Supreme Court). This order follows Fisher’s express holding.

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                                                                          1   from production of [a] document . . . the attorney having possession of the document is not
                                                                          2   bound to produce.” Id. at 404. Even though Fisher clearly explained that the attorneys were
                                                                          3   immunized by reason of the attorney-client privilege, Levandowski misconstrues the foregoing
                                                                          4   snippets from Fisher as holding that “the lawyer stands in the shoes of his client when it comes
                                                                          5   to invoking the Fifth Amendment privilege” (e.g., Dkt. No. 147 at 7–8).
                                                                          6          This misinterpretation of Fisher erroneously conflates the Fifth Amendment and
                                                                          7   attorney-client privileges. To repeat, “it is not the [client’s] Fifth Amendment privilege that
                                                                          8   would excuse the Attorney from production.” Fisher, 425 U.S. at 396. Although Fisher
                                                                          9   referenced the Fifth Amendment privilege to determine the extent of the attorney-client
                                                                         10   privilege under certain circumstances, it did not lend “Constitutional dimensions” to the latter.
                                                                         11   Beckler, 568 F.2d at 662 & n.2. Rather, it was the policy concern underlying the attorney-client
United States District Court
                               For the Northern District of California




                                                                         12   privilege that drove the holding in Fisher. Specifically, a client with documents privileged
                                                                         13   against production by the Fifth Amendment “will then be reluctant to transfer possession to the
                                                                         14   lawyer unless the documents are also privileged in the latter’s hands.” Fisher, 425 U.S. at
                                                                         15   403–04. Thus, the attorney-client privilege immunizes a lawyer against compelled production
                                                                         16   if two requirements are met. First, the client must be privileged against production of the
                                                                         17   document in question, “either as a party at common law” or under the Fifth Amendment.
                                                                         18   Second, the client must have transferred the document in question to the attorney “for the
                                                                         19   purpose of obtaining legal advice.” Id. at 404–05.
                                                                         20          Importantly, despite acknowledging that an act of production has “communicative
                                                                         21   aspects” like tacit concession of a document’s existence or location (a point counsel for
                                                                         22   Levandowski repeatedly emphasize here), Fisher never suggested that conventional privilege
                                                                         23   log requirements could be avoided on that basis. Our court of appeals, moreover, has
                                                                         24   acknowledged that claims of privilege against the production of particular documents — even
                                                                         25   under the Fifth Amendment — may require “targeted support” precisely like a privilege log or
                                                                         26   submission of the documents for in camera review. United States v. Bright, 596 F.3d 683,
                                                                         27   691–92 (9th Cir. 2010). In short, Levandowski’s suggestion that mere invocation of the Fifth
                                                                         28   Amendment can automatically supplant privilege log requirements is baseless.


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                                                                          1          Levandowski’s motion cites three non-binding decisions for the proposition that “the
                                                                          2   requirement of a detailed privileged log must yield to the constitutional right to be free from
                                                                          3   forced self-incrimination” (Dkt. No. 147 at 2–3, 12). All three decisions, however, are
                                                                          4   distinguishable from our case because they relieved only individuals asserting their Fifth
                                                                          5   Amendment privilege from the requirement of a detailed privilege log under the specific
                                                                          6   circumstances of their respective cases. See United States SEC v. Chin, No.
                                                                          7   12-cv-01336-PAB-BNB, 2012 U.S. Dist. LEXIS 182252, at *26 (D. Colo. Nov. 29, 2012)
                                                                          8   (Judge Boyd Boland); In re Syncor ERISA Litig., 229 F.R.D. 636, 649 (C.D. Cal. 2005) (Judge
                                                                          9   Rosalyn Chapman); In re Fustolo, No. 13–12692–JNF, 2015 WL 9595421, at *5 (Bankr. D.
                                                                         10   Mass. Dec. 31, 2015) (Judge Joan Feeney). None support Levandowski’s position that
                                                                         11   requiring others with whom he did business, even if under a joint defense agreement, to supply
United States District Court
                               For the Northern District of California




                                                                         12   typical privilege log information would be tantamount to compelling Levandowski to self-
                                                                         13   incriminate. Under the facts of our case, as stated, no binding authority supports
                                                                         14   Levandowski’s suggestion that his Fifth Amendment privilege necessarily supersedes typical
                                                                         15   privilege log requirements.
                                                                         16          Levandowski’s arguments seem to suggest that, even though Fisher did not consider
                                                                         17   privilege logs, its holding should apply here because the privilege log disclosures at issue are
                                                                         18   “testimonial” in the same sense that actually producing the due diligence report would be. As
                                                                         19   the party asserting the attorney-client privilege, Levandowski “has the burden of establishing
                                                                         20   the relationship and privileged nature of the communication.” United States v. Richey, 632 F.3d
                                                                         21   559, 566 (9th Cir. 2011). He has not carried that burden here.
                                                                         22          First, the identity of the third party that prepared the report is a fact known to Uber, not
                                                                         23   a communication between Levandowski and his attorney, much less a communication made for
                                                                         24   the purpose of obtaining legal advice. As such, it cannot be concealed by any attorney-client
                                                                         25   privilege, including under Fisher. See Fisher, 425 U.S. at 403 (the attorney-client privilege
                                                                         26   “protects only those disclosures necessary to obtain informed legal advice which might not have
                                                                         27   been made absent the privilege”); Upjohn Co. v. United States, 449 U.S. 383, 395–96 (1981)
                                                                         28   (“The [attorney-client] privilege only protects disclosure of communications; it does not protect


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                                                                          1   disclosure of the underlying facts by those who communicated with the attorney.”); Richey, 632
                                                                          2   F.3d at 566 (“The attorney-client privilege protects confidential communications between
                                                                          3   attorneys and clients, which are made for the purpose of giving legal advice.”).
                                                                          4          Second, the motion record fails to show that Levandowski communicated to his attorney
                                                                          5   in confidence, and for the purpose of obtaining legal advice, either (1) whether the third party
                                                                          6   reviewed documents in Levandowski’s possession, or (2) the identity of any other items in
                                                                          7   Levandowski’s possession reviewed by the third party. Syncor, a decision cited by
                                                                          8   Levandowski, actually illustrates the error of his suggestion that the aforementioned
                                                                          9   information falls within the ambit of the attorney-client privilege. In Syncor, a defendant
                                                                         10   attempted to claim attorney-client and joint-defense privileges over documents prepared during
                                                                         11   due diligence “solely for the business purpose of a potential merger.” Judge Rosalyn Chapman
United States District Court
                               For the Northern District of California




                                                                         12   rejected the claim, concluding that such documents “cannot fall within the ambit of the
                                                                         13   attorney-client privilege, which protects only communications between a lawyer and client.”
                                                                         14   Syncor, 229 F.R.D. at 644–45 (quotation omitted). So too here.
                                                                         15          On appeal, Levandowski may argue that he transferred incriminating documents via his
                                                                         16   attorney to the third party, not for the preparation of any ordinary due diligence report, but
                                                                         17   specifically so that counsel for Uber could evaluate the extent to which Levandowski would
                                                                         18   arrive with attendant liabilities. Thus, Levandowski may contend, both the transfer and the
                                                                         19   report itself were “for the purpose of obtaining legal advice.” Although that proposition was
                                                                         20   not advanced here in the district court, given our expedited schedule, this order anticipates the
                                                                         21   possibility and explains why it, too, would fail. As stated, its factual predicates are not proven
                                                                         22   up with a sworn record. For example, nothing under oath provides any specific information as
                                                                         23   to the purpose or subject of the due diligence report (other than, of course, the mere fact that it
                                                                         24   is described as a “due diligence report”). This alone should be dispositive. Moreover, under
                                                                         25   the umbrella of this argument, a litigant could abuse the attorney-client privilege to conceal
                                                                         26   wrongdoing (like the theft and sale of trade secrets) so long as they cleverly passed it on as part
                                                                         27   of “due diligence.” No binding authority supports such an extraordinary result.
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                                                                          1          Third, even if the specific information Levandowski seeks to redact could be construed
                                                                          2   as confidential attorney-client communications, it is not testimonial within the meaning of the
                                                                          3   Fifth Amendment. See Fisher, 425 U.S. at 410 (whether “tacit averments . . . are both
                                                                          4   ‘testimonial’ and ‘incriminating’ for purposes of applying the Fifth Amendment . . . depend[s]
                                                                          5   on the facts and circumstances of particular cases”). As stated, this Court reviewed the
                                                                          6   requested redactions in camera and concluded that none of the information at issue constitutes
                                                                          7   self-incriminating testimony, implicit or otherwise, from Levandowski. To the extent that the
                                                                          8   information is arguably testimonial, it is clear that Uber, not Levandowski, would be the one
                                                                          9   testifying on the privilege log in question.
                                                                         10          Fourth, the policy considerations underlying Fisher counsel against application of the
                                                                         11   attorney-client privilege here. As stated, the record does not show that Levandowski
United States District Court
                               For the Northern District of California




                                                                         12   communicated the privilege log information at issue in confidence to his attorney for the
                                                                         13   purpose of obtaining legal advice. Indeed, if Levandowski transferred any incriminating
                                                                         14   documents to the third party, it would seem he did so for the purpose of selling his ventures to
                                                                         15   Uber for $680 million. In contrast, Fisher involved individuals who transferred documents to
                                                                         16   their personal attorneys for legal advice in connection with IRS investigations. It did not
                                                                         17   involve a joint defense agreement. Not did it involve presenting documents to a non-lawyer.
                                                                         18   Nor did it involve presenting documents to a consultant for due diligence by the other side in an
                                                                         19   acquisition. Fisher is very far removed from the circumstances of our case, which simply do
                                                                         20   not involve the kind of client-attorney communications that Fisher intended to protect.
                                                                         21   Levandowski has thus failed to justify his requests to withhold privilege log information under
                                                                         22   Fisher. See id. at 403 (“[S]ince the [attorney-client] privilege has the effect of withholding
                                                                         23   relevant information from the fact-finder, it applies only where necessary to achieve its purpose.
                                                                         24   Accordingly it protects only those disclosures necessary to obtain informed legal advice which
                                                                         25   might not have been made absent the privilege.”).
                                                                         26          Levandowski’s motion cites the California Rules of Professional Conduct and our Civil
                                                                         27   Local Rules for the general proposition that attorneys are ethically required to avoid disclosing
                                                                         28   a client’s “confidences” or “secrets” — “unless an appropriate court order is obtained by the


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                                                                          1   requesting party” (Dkt. No. 147 at 8–9). The suggestion that the privilege log at issue here
                                                                          2   would violate defense counsel’s ethical obligation to protect Levandowski’s “confidences” or
                                                                          3   “secrets” is a non-starter because the expedited discovery order dated March 16 is an
                                                                          4   “appropriate court order” that, according to Levandowski’s own argument, supersedes generic
                                                                          5   countervailing ethical obligations.
                                                                          6          In summary, Levandowski has not carried his burden to show that any privilege justifies
                                                                          7   his requested relief. Any remaining argument based on the joint defense agreement also fails
                                                                          8   because the joint-defense privilege “presupposes the existence of an otherwise valid underlying
                                                                          9   privilege, such as the attorney-client privilege, which has not been shown to be present.” See
                                                                         10   Syncor, 229 F.R.D. at 645 (citing Henke, 222 F.3d at 637).
                                                                         11          At risk of repetition, the very purpose of a privilege log is to allow a fair way to test a
United States District Court
                               For the Northern District of California




                                                                         12   claim of privilege. That traditional privilege log requirements should be verboten merely
                                                                         13   because they might connect the dots back to a non-party in a possible criminal investigation is a
                                                                         14   sweeping proposition under which all manner of mischief could be concealed.
                                                                         15          We are still at the privilege log stage. There will be time enough to argue soon over
                                                                         16   whether the due diligence report itself must be produced, but for now that report must be put on
                                                                         17   a privilege log in the conventional way — without any of the redactions requested by counsel
                                                                         18   for Levandowski.
                                                                         19                                            CONCLUSION
                                                                         20          For the foregoing reasons, Levandowski’s motion is DENIED.
                                                                         21          1.      By 11:00 P.M. TODAY, defendants shall serve a privilege log complete as to all
                                                                         22   items unaffected by this motion.
                                                                         23          2.      By APRIL 13 AT 5:00 P.M., defendants shall serve a privilege log complete as to
                                                                         24   all items affected by this motion unless the court of appeals extends the deadline.
                                                                         25          3.      Since it appears that the due diligence report is the main item at issue, the
                                                                         26   following procedure will be used to move the process along. By APRIL 14 AT NOON, plaintiff
                                                                         27   shall move, if it wishes to do so at all, to compel production of the report. Defendants and
                                                                         28   Levandowski shall have until APRIL 21 AT NOON to oppose, shall submit a proper sworn record


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                                                                          1   as to all necessary predicates, and shall submit the full report (with attachments) for in camera
                                                                          2   review. Plaintiff may reply by APRIL 25 AT NOON. The briefs should address the possibility
                                                                          3   that discovery into the predicates for any privilege may be allowed.
                                                                          4          Should counsel file any petition for a writ in the court of appeals, please take into
                                                                          5   account that this civil action includes claims for patent infringement.
                                                                          6          The proposed privilege log with requested redactions submitted for in camera review
                                                                          7   shall remain under seal for the court of appeals. This order addresses only the Fifth
                                                                          8   Amendment argument and is without prejudice to any argument that the privilege log is
                                                                          9   otherwise incomplete.
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                                                                         11          IT IS SO ORDERED.
United States District Court
                               For the Northern District of California




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                                                                         13   Dated: April 10, 2017.
                                                                                                                                       WILLIAM ALSUP
                                                                         14                                                            UNITED STATES DISTRICT JUDGE
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